C, Case: 1:24-cv-04383 Document #: 6 Filed: 05/29/24 Page 1 of 1 PagelID #:56

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

)
Niane eld ) Case Number: 1:24-cv-OY 383
Plaintiff )
) Judge: Robert W. Getlleman

v. )

Rossewel+ Universit ad Magistrate Judge: M. David Wes man
Roosevelt Ad yunch Defen “oe )

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ictty- +, Judqe MAY 29 2024 vn

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

Dear Sudg Q,

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Sincerely

the PlarnthFF

Ms field

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